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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


ASTRAZENECA LP, ASTRAZENECA AB,
ASTRAZENECA UK LIMITED, and
ASTRAZENECA PHARMACEUTICALS LP,

                  Plaintiffs,
                                                          Civil Action No. 15-1000-RGA
                  v.
                                                          CONSOLIDATED
SIGMAPHARM LABORATORIES, LLC, et al.

                  Defendants.


ASTRAZENECA LP, ASTRAZENECA AB,
ASTRAZENECA UK LIMITED, and
ASTRAZENECA PHARMACEUTICALS LP,

                  Plaintiffs,                              Civil Action No. 15-1056-RGA

                  v.

AMNEAL PHARMACEUTICALS LLC and
AMNEAL PHARMACEUTICALS OF NEW
YORK, LLC,

                  Defendants.


                                   CONSENT JUDGMENT

         AstraZeneca LP, AstraZeneca AB, AstraZeneca Pharmaceuticals LP and AstraZeneca

UK Limited (hereinafter collectively "AstraZeneca"), and Amneal Pharmaceuticals LLC and

Amneal Pharmaceuticals of New York, LLC (hereinafter "Amneal"), the parties in the above-

captioned action, have agreed to terms and conditions representing a negotiated settlement of the

action and have set forth those terms and conditions in a Settlement Agreement (the "Settlement

Agreement"). Now the parties, by their respective undersigned attorneys, hereby stipulate and




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consent to entry of judgment and an injunction in the action, as follows:

         IT IS this               day of                          , 2018:

         ORDERED, ADJUDGED AND DECREED as follows:

         1.       This District Court has jurisdiction over the subject matter of the above action

and has personal jurisdiction over the parties.

         2.       As used in this Consent Judgment, (i) the term "Amneal Product" shall mean the

drug product sold, offered for sale or distributed pursuant to Abbreviated New Drug Application

No. 208531 (and defined in greater detail in the Settlement Agreement); (ii) the term "Licensed

Patents" shall mean United States Patent Numbers 6,251,910; RE46,276 (6,525,060); 7,250,419;

and 7,265,124; and (iii) the term "Affiliate" shall mean any entity or person that, directly or

indirectly through one or more intermediaries, controls, is controlled by, or is under common

control with Amneal; for purposes of this definition, "control" means (a) ownership, directly or

through one or more intermediaries, of (1) more than fifty percent (50%) of the shares of stock

entitled to vote for the election of directors, in the case of a corporation, or (2) more than fifty

percent (50%) of the equity interests in the case of any other type of legal entity or status as a

general partner in any partnership, or (b) any other arrangement whereby an entity or person has

the right to elect a majority of the Board of Directors or equivalent governing body of a

corporation or other entity or the right to direct the management and policies of a corporation or

other entity.

         3.       Unless otherwise specifically authorized pursuant to the Settlement Agreement,

 Amneal, including any of its Affiliates, successors and assigns, is enjoined from infringing the

 Licensed Patents, on its own part or through any Affiliate, by making, having made, using, selling,

 offering to sell, importing or distributing of the Amneal Product.




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         4.       Compliance with this Consent Judgment may be enforced by AstraZeneca and its

successors in interest, or assigns, as permitted by the terms of the Settlement Agreement.

         5.       This District Court retains jurisdiction to enforce or supervise performance under this

Consent Judgment and the Settlement Agreement.

         6.       All claims, counterclaims, affirmative defenses and demands in this action are

hereby dismissed with prejudice and without costs, disbursements or attorneys' fees to any party.




                                                         Richard G, Andrews U.S.D.J


We hereby consent to the form and entry of this Order:

/s/ Daniel M. Silver                                 /s/ Anne Shea Gaza
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